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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                                        10/19/2020
                                                                       :
MICHAEL LARDO, on behalf of himself and all others :
similarly situated,                                                    :
                                                                       :
                                    Plaintiff,                         :   20-CV-5047 (JPC)
                                                                       :
                  -v-                                                  :        ORDER
                                                                       :
BUILDING SERVICE 32BJ PENSION FUND et al.,                             :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        The Court is in receipt of the Defendants’ letter-motion requesting a pre-motion conference

in advance of their forthcoming Motion to Dismiss and/or Summary Judgment (Dkt. 60), and the

Plaintiff’s response to the Defendants’ pre-motion letter (Dkt. 61). The Court hereby finds that a

pre-motion conference is not necessary, and the Defendants’ may proceed in filing the Motion to

Dismiss and/or Summary Judgment. The Defendants’ Motion Papers are due by November 2, 2020.

The Plaintiff’s Opposition Papers are due by November 30, 2020. Defendants’ Reply Papers are

due December 14, 2020.

        In accordance with the Court’s Individual Rules and Practices for Civil Cases, requests for

extensions or adjournment may be made only by letter-motion filed on ECF and must be received

at least 48 hours (i.e., two business days) before the deadline or scheduled appearance, absent

compelling circumstances. The written submission must state (1) the original date(s) set for the

appearance or deadline(s) and the new date(s) requested; (2) the reason(s) for the request; (3) the
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number of previous requests for adjournment or extension; (4) whether these previous requests

were granted or denied; and (5) whether opposing counsel consents, and, if not, the reasons given

by opposing counsel for refusing to consent.

       SO ORDERED.

Dated: October 19, 2020                            __________________________________
       New York, New York                                   JOHN P. CRONAN
                                                          United States District Judge




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